06-11391-rdd       Doc 175        Filed 11/21/06      Entered 11/21/06 15:27:05       Main Document
                                                     Pg 1 of 1
Nancy A. Mitchell, IL Bar No. 6199397
GREENBERG TRAURIG, LLP
77 West Wacker Drive, Suite 2500
Chicago, Illinois 60601
(312) 456-8400

Attorney for Blue Wolf Capital Management and
Blue Wolf Education, LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                  :   Chapter 11
                                                        :
PLATFORM LEARNING, INC.                                 :   Case No. 06-11391 (RDD)
                                                        :
                             Debtor.                    :   MOTION OF NANCY A. MITCHELL
                                                        :   TO APPEAR PRO HAC VICE
-------------------------------------------------------x

       I, Nancy A. Mitchell, a member in good standing of the bar in the State of Illinois,
request admission, pro hac vice, before the Honorable Robert D. Drain, to represent Blue Wolf
Capital Management and Blue Wolf Education, LLC, in the above-referenced case.

        Mailing Address:           Nancy A. Mitchell, Esq.
                                   Greenberg Traurig, LLP
                                   77 West Wacker Drive, Suite 2500
                                   Chicago, Illinois 60601
        Telephone:                 (312) 456-8400
        Facsimile:                 (312) 456-8435
        E-mail:                    mitchelln@gtlaw.com

        I have agreed to pay the fee of $25.00 upon approval by this Court admitting me to
practice pro hac vice.

Dated: November 21, 2006
       Chicago, Illinois
                                                    /s/ Nancy A. Mitchell
                                                        Nancy A. Mitchell


                                     ORDER GRANTING MOTION

        IT IS HEREBY ORDERED that Nancy A. Mitchell is admitted to practice, pro hac vice,
in the above-referenced case in the United States Bankruptcy Court, Southern District of New
York, subject to payment of the filing fee.

Dated: _________________
       New York, New York

                                                     ____________________________________
                                                     UNITED STATES BANKRUPTCY JUDGE
CHI 56580103v1 11/21/2006
